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                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF VIRGINIA
                                          Richmond Division

    In re:                                                                 Case No. 19-34574-KRH
                                       1
              LeClairRyan, PLLC,

              Debtor                                                       Chapter 7


                          PROPOSED AGENDA FOR HEARING ON
                 MARCH 29, 2022, AT 11:00 A.M. (PREVAILING EASTERN TIME)

             Set forth below are the matters scheduled to be heard before the Honorable Kevin R.

    Huennekens, United States Bankruptcy Judge, in Room 5000, United States Courthouse, 701 East

    Broad Street, Richmond, Virginia 23219, on March 29, 2022, beginning at 11:00 a.m. via Zoom:

    Zoom registration link:
    https://www.zoomgov.com/meeting/register/vJItd-GvqDkvH4cmJbXkjNKZZrN-Pfd4nbg

             Listen-only conference line:
                    Dial: 1-866-590-5055
                    Access Code: 4377075
                    Security Code: 32922


        I.       MATTERS OF THE ESTATE

        1. Application for Compensation for Tavenner & Beran, PLC as Counsel to Chapter 7
           Trustee filed by Paula S. Beran of Tavenner & Beran, PLC on behalf of Tavenner & Beran,
           PLC. (Beran, Paula) [ECF No. 1242]




    1
      The principal address of the Debtor as of the petition date was 4405 Cox Road, Glen Allen, Virginia 23060, and the
    last four digits of the Debtor’s federal tax identification number are 2451.


Paula S. Beran, Esquire (Va. Bar No. 34679)
Tavenner & Beran, PLC
20 North Eighth Street, Second Floor
Richmond, Virginia 23219
Telephone: (804) 783-8300
Telecopy: (804) 783-0178

    Counsel for Lynn L. Tavenner, Chapter 7 Trustee
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       Related documents:

           a. Notice of Hearing (Re: related document(s)[1242] Application for Compensation
              filed by Tavenner & Beran, PLC) filed by Paula S. Beran of Tavenner & Beran,
              PLC on behalf of Tavenner & Beran, PLC. Hearing scheduled for 3/29/2022 at
              11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
              Richmond, Virginia. (Beran, Paula) [ECF No. 1243]

           b. Exhibit - Schedule A (Re: related document(s)1242 Application for Compensation
              filed by Tavenner & Beran, PLC, 1244 Application for Compensation filed by
              Lynn L. Tavenner, 1245 Application for Compensation filed by Quinn Emanuel
              Urquhart & Sullivan, LLP) filed by Paula S. Beran of Tavenner & Beran, PLC on
              behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 1262]

        Response Deadline:      March 22, 2022

        Responses Filed:        None

        Status:                 The Trustee will request that the Court approve the
                                Application as filed.

    2. Sixth Application for Compensation for Barry Strickland & Company as Accountant filed
       by Lynn L. Tavenner on behalf of Lynn L. Tavenner. (Tavenner, Lynn) [ECF No. 1244]

       Related documents:

           a.  Notice of Hearing (Re: related document(s)[1242] Application for Compensation
              filed by Tavenner & Beran, PLC) filed by Paula S. Beran of Tavenner & Beran,
              PLC on behalf of Tavenner & Beran, PLC. Hearing scheduled for 3/29/2022 at
              11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
              Richmond, Virginia. (Beran, Paula) [ECF No. 1243]
           b. Exhibit - Schedule A (Re: related document(s)1242 Application for Compensation
              filed by Tavenner & Beran, PLC, 1244 Application for Compensation filed by
              Lynn L. Tavenner, 1245 Application for Compensation filed by Quinn Emanuel
              Urquhart & Sullivan, LLP) filed by Paula S. Beran of Tavenner & Beran, PLC on
              behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 1262]

        Response Deadline:      March 22, 2022

        Responses Filed:        None

        Status:                 The Trustee will request that the Court approve the
                                Application as filed.




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    3. Interim Application for Compensation (Third Interim Application of Quinn Emanuel
       Urquhart & Sullivan LLP as Special Counsel to the Trustee, for Allowance of
       Compensation and Reimbursement of Expenses Incurred) filed by Erika L. Morabito of
       Quinn Emanuel on behalf of Quinn Emanuel Urquhart & Sullivan, LLP. (Attachments:
       # 1 Exhibit(s) Exhibit A - Proposed Order # 2 Exhibit(s) B # 3Exhibit(s) C # 4 Exhibit(s)
       D # 5 Exhibit(s) E # 6 Exhibit(s) F) (Morabito, Erika) [ECF No. 1245]

       Related documents:

           a. Notice of Hearing (Re: related document(s)[1242] Application for Compensation
              filed by Tavenner & Beran, PLC) filed by Paula S. Beran of Tavenner & Beran,
              PLC on behalf of Tavenner & Beran, PLC. Hearing scheduled for 3/29/2022 at
              11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
              Richmond, Virginia. (Beran, Paula) [ECF No. 1243]

           b. Supplemental Application for Compensation for Quinn Emanuel Urquhart &
              Sullivan as Special Counsel (Related Document(s)1245 Application for
              Compensation filed by Quinn Emanuel Urquhart & Sullivan, LLP) filed by Erika
              L. Morabito of Quinn Emanuel on behalf of Quinn Emanuel Urquhart & Sullivan,
              LLP. (Morabito, Erika) [ECF No. 1249]

           c. Exhibit - Schedule A (Re: related document(s)1242 Application for Compensation
              filed by Tavenner & Beran, PLC, 1244 Application for Compensation filed by
              Lynn L. Tavenner, 1245 Application for Compensation filed by Quinn Emanuel
              Urquhart & Sullivan, LLP) filed by Paula S. Beran of Tavenner & Beran, PLC on
              behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 1262]

           d. Sealed Exhibit (Related Document(s)[1245] Application for Compensation filed by
              Quinn Emanuel Urquhart & Sullivan, LLP) filed by Brittany Jane Nelson of Quinn
              Emanuel on behalf of Quinn Emanuel Urquhart & Sullivan, LLP. [ECF No. 1267]


        Response Deadline:       March 22, 2022

        Responses Filed:         None

        Status:                  The Trustee will request that the Court approve the
                                 Application in a modified amount.

    4. Motion to Set Last Day to File Administrative Claims - TRUSTEES MOTION FOR ENTRY
       OF AN ORDER SETTING BAR DATE FOR FILING CHAPTER 11 ADMINISTRATIVE
       CLAIMS AND MEMORANDUM IN SUPPORT THEREOF filed by Paula S. Beran of
       Tavenner & Beran, PLC on behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No. 1250]



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       Related documents:

           a.  Notice of Motion and Notice of Hearing (Re: related document(s)1250 Motion to
              Set Last Day to File Administrative Claims filed by Lynn L. Tavenner) filed by
              Paula S. Beran of Tavenner & Beran, PLC on behalf of Lynn L. Tavenner. Hearing
              scheduled for 3/29/2022 at 11:00 AM at Judge Huennekens' Courtroom, 701 E.
              Broad St., Rm. 5000, Richmond, Virginia. (Beran, Paula) [ECF No. 1251]
           b. Exhibit - Schedule A (Re: related document(s)1250 Motion to Set Last Day to File
              Administrative Claims filed by Lynn L. Tavenner) filed by Paula S. Beran of
              Tavenner & Beran, PLC on behalf of Lynn L. Tavenner. (Beran, Paula) [ECF No.
              1265]

        Response Deadline:      March 26, 2022

        Responses Filed:        None

        Status:                 The Trustee will request that the Court grant the Motion and
                                enter an Order similar to the Exhibit A of the Motion


    5. Motion to Approve - TRUSTEES MOTION FOR AN ORDER APPROVING (I) THE
       TRUSTEES RELIANCE ON DEBTORS LIST OF EQUITY SECURITY HOLDERS AND
       (II) PROCEDURES FOR OBTAINING COPIES OF FILED TAX RETURNS AND
       MEMORANDUM IN SUPPORT THEREOF filed by Paula S. Beran of Tavenner &
       Beran, PLC on behalf of Lynn L. Tavenner. (Attachments: # (1) Exhibit(s) B through D)
       (Beran, Paula) [ECF No. 1086]

       Related documents:

           a. Notice of Motion and Notice of Hearing (Re: related document(s)1086 Motion to
              Approve filed by Lynn L. Tavenner) filed by Paula S. Beran of Tavenner &
              Beran, PLC on behalf of Lynn L. Tavenner. Hearing scheduled for 11/16/2021 at
              11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
              Richmond, Virginia. (Beran, Paula) [ECF No. 1087]

           b. Hearing held and continued; Appearance(s): Paula Beran for Trustee (Re: related
              document(s)[1086] Motion to Approve filed by Lynn L. Tavenner) Hearing
              scheduled for 12/21/2021 at 11:00 AM at Judge Huennekens' Courtroom, 701 E.
              Broad St., Rm. 5000, Richmond, Virginia. (Gary, Lisa) [ECF No. 1102]

           c. Exhibit - Schedule A (Re: related document(s)1086 Motion to Approve filed by
              Lynn L. Tavenner, 1087 Notice of Motion and Notice of Hearing filed by Lynn L.
              Tavenner) filed by Paula S. Beran of Tavenner & Beran, PLC on behalf of Lynn
              L. Tavenner. (Beran, Paula) [ECF No. 1156]


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          d. Hearing held and continued; Declaration of Lynn L. Tavenner,
             entry 1159 Admitted. Appearance(s): Paula Beran for Trustee (Re: related
             document(s)1086 Motion to Approve filed by Lynn L. Tavenner) Hearing
             scheduled for 1/27/2022 at 01:00 PM at Judge Huennekens' Courtroom, 701 E.
             Broad St., Rm. 5000, Richmond, Virginia. (Gary, Lisa) Modified on 12/21/2021
             to edit text (Gary, Lisa) [ECF No. 1161]

          e. Hearing continued; Appearance(s): Paula Beran for Trustee (Re: related
             document(s)1086 Motion to Approve filed by Lynn L. Tavenner) Hearing
             scheduled for 2/17/2022 at 01:00 PM at Judge Huennekens' Courtroom, 701 E.
             Broad St., Rm. 5000, Richmond, Virginia. (Gary, Lisa) [ECF No. 1200]

          f. Hearing held and continued; Motion Granted in part as set out in open court;
             Declaration of Lynn Tavenner #1219 Admitted. Appearance(s): Paula Beran for
             Trustee (Re: related document(s)1086Motion to Approve filed by Lynn L.
             Tavenner) Hearing scheduled for 3/29/2022 at 11:00 AM at Judge Huennekens'
             Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia. (Gary, Lisa) [ECF
             No. 1221]

          g. Order Approving (I) The Trustees Reliance On Debtors List of Equity Security
             Holders And (II) Procedures For Obtaining Copies Of Filed Tax Returns And
             Memorandum In Support Thereof (Related Doc # 1086) (Bullock, Nathaniel)
             [ECF No. 1224]

        Response Deadline:     November 13, 2021

        Responses Filed:       Objection to Trustee's Motion to Approve (Re: related
                               document(s)[1086] Motion to Approve filed by Lynn L.
                               Tavenner) filed by Andrew M. Bowman of Gentry Locke on
                               behalf of Gary D. LeClair. (Attachments: # (1) Exhibit(s) 1 # (2)
                               Exhibit(s) 2 # (3) Exhibit(s) 3 # (4) Exhibit(s) 4 # (5) Exhibit(s) 5
                               # (6) Exhibit(s) 6) (Bowman, Andrew) [ECF No. 1092]

                               Objection to Rodney K. Adams, John T. Jessee, Paul C. Kuhnel,
                               and Andrew K. Clark's Limited Objection to Trustee's Motion for
                               an Order Approving (I) The Trustee's Reliance on Debtor's List
                               of Equity Security Holders and (II) Procedures for Obtaining
                               Copies of Filed Tax Returns and Memorandum in Support
                               Thereof (Re: related document(s)[1086] Motion to Approve filed
                               by Lynn L. Tavenner) filed by Michael E. Hastings of Woods
                               Rogers PLC on behalf of Rodney K. Adams, John T. Jessee, Paul
                               C. Kuhnel, and Andrew K. Clark. (Hastings, Michael) [ECF No.
                               1093]



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                                   Objection to Trustees Motion for an Order Approving (I) The
                                   Trustees Reliance on Debtors List of Equity Security Holders (II)
                                   Procedures for Obtaining Copies of Filed Tax Returns (Re:
                                   related document(s)[1086] Motion to Approve filed by Lynn L.
                                   Tavenner) filed by Diana Lyn Curtis McGraw of Fox Rothschild
                                   LLP on behalf of Elizabeth Acee. (Attachments: # (1) Exhibit(s)
                                   Exhibit A # (2) Exhibit(s) Exhibit B # (3) Exhibit(s) Exhibit C)
                                   (McGraw, Diana Lyn) [ECF No. 1094]

                                   Objection to Trustees Motion for an Order Approving (I) The
                                   Trustees Reliance on Debtors List of Equity Security Holders (II)
                                   Procedures for Obtaining Copies of Filed Tax Returns (Re:
                                   related document(s)[1086] Motion to Approve filed by Lynn L.
                                   Tavenner) filed by Diana Lyn Curtis McGraw of Fox Rothschild
                                   LLP on behalf of Richard W. Bowerman, Paul Burleigh, Karol
                                   Corbin Walker, Mark Dombroff, Niclas Ferland, Janice Grubin,
                                   Charles Erik Gustafson, Christopher J. Lange, Jason Medley, Lori
                                   Thompson. (Attachments: # (1) Exhibit(s) # (2) Exhibit(s) # (3)
                                   Exhibit(s)) (McGraw, Diana Lyn) [ECF No. 1095]

                                   Objection Joinder To Various Objections (Re: related
                                   document(s)[1086] Motion to Approve filed by Lynn L.
                                   Tavenner) filed by Christopher L. Perkins of Eckert Seamans
                                   Cherin & Mellott, LLC on behalf of Certain Former Attorneys.
                                   (Perkins, Christopher) [ECF No. 1100]

           Status:                 The Trustee understands that the Objections found at ECF Nos.
                                   1092, 1093, and 1100 have been resolved. The Trustee will
                                   request that the Court grant the remaining relief sought in the
                                   Motion.



    II.      MATTERS BROUGHT BY THIRD PARTIES

    6. Motion to Amend (Related Document(s)79 List of Equity Security Holders Filed filed by
       LeClairRyan PLLC) filed by Andrew M. Bowman of Gentry Locke on behalf of Gary D.
       LeClair. (Attachments: # 1 Proposed Order # 2 Exhibit(s) 2 # 3 Exhibit(s) 3 # 4 Exhibit(s)
       4 # 5 Exhibit(s) 5 # 6 Exhibit(s) 6 # 7 Exhibit(s) 7 # 8 Exhibit(s) 8) (Bowman, Andrew),
       [ECF No. 1217]

          Related documents:

             a.   List of Equity Security Holders filed by Henry Pollard Long III of Hunton
                  Andrews Kurth LLP on behalf of LeClairRyan PLLC. (Long, Henry) [ECF No. 79]



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           b.  Notice of Motion and Notice of Hearing (Re: related document(s)1217 Motion to
              Amend filed by Gary D. LeClair) filed by Andrew M. Bowman of Gentry Locke
              on behalf of Gary D. LeClair. Hearing scheduled for 3/29/2022 at 11:00 AM at
              Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000, Richmond, Virginia.
              (Bowman, Andrew) [ECF No. 1240]
           c. Reply to Trustee's Response to Motion to Amend (Re: related
              document(s)1217 Motion to Amend filed by Gary D. LeClair) filed by Andrew M.
              Bowman of Gentry Locke on behalf of Gary D. LeClair. (Bowman, Andrew) [ECF
              No. 1266]

        Response Deadline:       March 22, 2022

        Responses Filed:         Response to (Re: related document(s)1217 Motion to Amend
                                 filed by Gary D. LeClair) filed by Paula S. Beran of Tavenner
                                 & Beran, PLC on behalf of Lynn L. Tavenner. (Beran, Paula)
                                 [ECF No. 1255]

                                 Exhibit - Exhibits A through C (Re: related
                                 document(s)1255 Response to Motion/Application filed by
                                 Lynn L. Tavenner, 1256 Response to Motion/Application filed
                                 by Lynn L. Tavenner, 1257Response to Motion/Application
                                 filed by Lynn L. Tavenner) filed by Paula S. Beran of
                                 Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                 (Beran, Paula) [1258]

                                 Supplemental Certificate of Service (Re: related
                                 document(s)1255 Response to Motion/Application filed by
                                 Lynn L. Tavenner, 1256 Response to Motion/Application filed
                                 by Lynn L. Tavenner, 1257Response to Motion/Application
                                 filed by Lynn L. Tavenner) filed by Paula S. Beran of
                                 Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                 (Beran, Paula) [ECF No. 1263]

        Status:                  The Trustee understands that the Movant intends to request
                                 that the Court grant the relief sought in the Motion.

    7. Motion for Joinder (Related Document(s)1217 Motion to Amend filed by Gary D. LeClair)
       filed by Christopher L. Perkins of Eckert Seamans Cherin & Mellott, LLC on behalf of
       Certain Former Attorneys. (Attachments: # 1 Exhibit(s) # 2 Exhibit(s) # 3 Exhibit(s)
       # 4 Exhibit(s) # 5 Exhibit(s) # 6 Exhibit(s) # 7 Exhibit(s) # 8 Exhibit(s) # 9 Exhibit(s)
       # 10 Exhibit(s)    # 11 Exhibit(s)    # 12 Exhibit(s)   # 13 Exhibit(s)    # 14Exhibit(s)
       # 15 Exhibit(s)    # 16 Exhibit(s)    # 17 Exhibit(s)   # 18 Exhibit(s)    # 19Exhibit(s)
       # 20 Exhibit(s)) (Perkins, Christopher), [ECF No. 1234]


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       Related documents:

          a.    Notice of Motion and Notice of Hearing (Re: related document(s)1234 Motion for
               Joinder filed by Certain Former Attorneys) filed by Christopher L. Perkins of
               Eckert Seamans Cherin & Mellott, LLC on behalf of Certain Former Attorneys.
               Hearing scheduled for 3/29/2022 at 11:00 AM at Judge Huennekens' Courtroom,
               701 E. Broad St., Rm. 5000, Richmond, Virginia. (Perkins, Christopher) [ECF No.
               1239]

          b. Motion to Amend (Related Document(s)79 List of Equity Security Holders Filed
             filed by LeClairRyan PLLC) filed by Andrew M. Bowman of Gentry Locke on
             behalf of Gary D. LeClair. (Attachments: # 1 Proposed Order # 2 Exhibit(s) 2
             # 3 Exhibit(s) 3 # 4 Exhibit(s) 4 # 5 Exhibit(s) 5 # 6 Exhibit(s) 6 # 7 Exhibit(s) 7
             # 8 Exhibit(s) 8) (Bowman, Andrew), [ECF No. 1217]

          c. Declaration (Re: related document(s)1234 Motion for Joinder filed by Certain
             Former Attorneys) filed by Christopher L. Perkins of Eckert Seamans Cherin &
             Mellott, LLC on behalf of Joseph Lagrotteria. (Perkins, Christopher) [ECF No.
             1247]

          d. Declaration Thomas M. Wolf (Re: related document(s)[1217] Motion to Amend
             filed by Gary D. LeClair, [1234] Motion for Joinder filed by Certain Former
             Attorneys) filed by Christopher L. Perkins of Eckert Seamans Cherin & Mellott,
             LLC on behalf of Certain Former Attorneys. (Perkins, Christopher) [ECF No. 1261]

        Response Deadline:       March 22, 2022

        Responses Filed:         Response to (Re: related document(s)1234 Motion for Joinder
                                 filed by Certain Former Attorneys) filed by Paula S. Beran of
                                 Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                 (Beran, Paula) [ECF No. 1256]

                                 Exhibit - Exhibits A through C (Re: related
                                 document(s)1255 Response to Motion/Application filed by
                                 Lynn L. Tavenner, 1256 Response to Motion/Application filed
                                 by Lynn L. Tavenner, 1257Response to Motion/Application
                                 filed by Lynn L. Tavenner) filed by Paula S. Beran of
                                 Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                 (Beran, Paula) [1258]

                                 Supplemental Certificate of Service (Re: related
                                 document(s)1255 Response to Motion/Application filed by
                                 Lynn L. Tavenner, 1256 Response to Motion/Application filed
                                 by Lynn L. Tavenner, 1257Response to Motion/Application


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                                  filed by Lynn L. Tavenner) filed by Paula S. Beran of
                                  Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                  (Beran, Paula) [ECF No. 1263]

                                  The Trustee understands that the Movants intend to request
        Status:                   that the Court grant the relief sought in the Motion.

    8. Motion for Joinder (Related Document(s)1217 Motion to Amend filed by Gary D. LeClair)
       filed by Michael E. Hastings of Woods Rogers PLC on behalf of Rodney K. Adams, John
       T. Jessee, Paul C. Kuhnel, and Andrew K. Clark. (Hastings, Michael), [ECF No. 1237]

       Related documents:

           a.    Notice of Hearing (Re: related document(s)1237 Motion for Joinder filed by
                Rodney K. Adams, John T. Jessee, Paul C. Kuhnel, and Andrew K. Clark) filed by
                Michael E. Hastings of Woods Rogers PLC on behalf of Rodney K. Adams, John
                T. Jessee, Paul C. Kuhnel, and Andrew K. Clark. Hearing scheduled for 3/29/2022
                at 11:00 AM at Judge Huennekens' Courtroom, 701 E. Broad St., Rm. 5000,
                Richmond, Virginia. (Hastings, Michael) [ECF No. 1238]

           b. Motion to Amend (Related Document(s)79 List of Equity Security Holders Filed
              filed by LeClairRyan PLLC) filed by Andrew M. Bowman of Gentry Locke on
              behalf of Gary D. LeClair. (Attachments: # 1 Proposed Order # 2 Exhibit(s) 2
              # 3 Exhibit(s) 3 # 4 Exhibit(s) 4 # 5 Exhibit(s) 5 # 6 Exhibit(s) 6 # 7 Exhibit(s) 7
              # 8 Exhibit(s) 8) (Bowman, Andrew), [ECF No. 1217]

        Response Deadline:        March 22, 2022

        Responses Filed:          Response to (Re: related document(s)1237 Motion for Joinder
                                  filed by Rodney K. Adams, John T. Jessee, Paul C. Kuhnel,
                                  and Andrew K. Clark) filed by Paula S. Beran of Tavenner &
                                  Beran, PLC on behalf of Lynn L. Tavenner. (Beran, Paula)
                                  [ECF No. 1257]

                                  Exhibit - Exhibits A through C (Re: related
                                  document(s)1255 Response to Motion/Application filed by
                                  Lynn L. Tavenner, 1256 Response to Motion/Application filed
                                  by Lynn L. Tavenner, 1257Response to Motion/Application
                                  filed by Lynn L. Tavenner) filed by Paula S. Beran of
                                  Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                  (Beran, Paula) [1258]

                                  Supplemental Certificate of Service (Re: related
                                  document(s)1255 Response to Motion/Application filed by


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                                 Lynn L. Tavenner, 1256 Response to Motion/Application filed
                                 by Lynn L. Tavenner, 1257Response to Motion/Application
                                 filed by Lynn L. Tavenner) filed by Paula S. Beran of
                                 Tavenner & Beran, PLC on behalf of Lynn L. Tavenner.
                                 (Beran, Paula) [ECF No. 1263]

           Status:               The Trustee understands that the Movants intend to request
                                 that the Court grant the relief sought in the Motion.

    9. Motion for Joinder of Two Additional Former LeClairRyan, PPLC Attorneys to (Related
       Document(s)1217 Motion to Amend filed by Gary D. LeClair) filed by John G. McJunkin
       of BAKER DONELSON on behalf of Gretchen Jackson, Robin Teskin. (Attachments:
       # 1 Exhibit(s) A to Joinder # 2 Exhibit(s) B to Joinder) (McJunkin, John) [ECF No. 1260]

           Response Deadline:    March 22, 2022

           Responses Filed:      Response to (Re: related document(s)1260 Motion for Joinder
                                 filed by Robin Teskin, Gretchen Jackson) filed by Paula S.
                                 Beran of Tavenner & Beran, PLC on behalf of Lynn L.
                                 Tavenner. (Beran, Paula) [ECF No. 1264]

           Status:               The Trustee understands that the Movants intend to request
                                 that the Court grant the relief sought in the Motion.


    III.     REPORTS

    10. Case Status and Report pursuant to Local Rule 2015-(a)-(1)(A)


                                     Respectfully submitted,

                                     LYNN L. TAVENNER, CHAPTER 7 TRUSTEE

  Dated: March 28, 2022              By: /s/ Paula S. Beran
  Richmond, Virginia                 Paula S. Beran, Esquire (VSB No. 34679)
                                     PBeran@TB-LawFirm.com
                                     Tavenner & Beran, PLC
                                     20 North 8th Street
                                     Richmond, Virginia 23219
                                     Telephone: (804) 783-8300
                                     Telecopier: (804) 783-0178

                                             Counsel for Lynn L. Tavenner, Chapter 7 Trustee



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                                 CERTIFICATE OF SERVICE

         Pursuant to the Local Rules of this Court and applicable orders, I certify that on this 28th
 day of March 2022, a true copy of the foregoing Agenda was sent electronically to all parties
 receiving ECF notices in this Case.

                                               /s/ Paula S. Beran
                                               Counsel for Lynn L. Tavenner, Chapter 7 Trustee




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